      Case 4:21-cr-06028-MKD   ECF No. 51        filed 08/20/21   PageID.153 Page 1 of 13




 1   Adam R. Pechtel / WSBA #43743
     Pechtel Law PLLC
 2   21 N Cascade St
     Kennewick, WA 99336
 3   Telephone: (509) 586-3091

 4   Attorney for Defendant

 5

 6                        United States District Court
                         Eastern District of Washington
 7                    Before the Hon. Rosanna M. Peterson

 8   United States of America,
                                                  No. 4:21-CR-06028-RMP-3
 9                                  Plaintiff,
                                                  Motion to Suppress Evidence
10   v.                                           Obtained as a Result of an
                                                  Illegal Search
11   Joel Chavez-Duran,
                                          Pretrial Conference
12                             Defendant. August 26, 2021 at 9:45 AM
                                          With oral argument
13

14        Defendant Chavez-Duran, through his attorney of record, moves

15   the Court to suppress evidence obtained by the Government in

16   violation of the Fourth Amendment’s prohibition on unreasonable

17   searches.

18                             A.      Relief Requested

19        Defendant Chavez-Duran asks the Court to find that the “frisk”

20   conducted by law enforcement personnel after the traffic stop was


     Motion to Suppress - 1
      Case 4:21-cr-06028-MKD   ECF No. 51   filed 08/20/21   PageID.154 Page 2 of 13




 1   made without a warrant and unreasonable. Defendant further asks

 2   the Court to exclude evidence obtained as a result of the search,

 3   namely the pills found in Defendant’s pocket.

 4                     B.      Relevant Background Facts

 5    Beginning in May 2021, the DEA began investigating co-defendant

 6   Jose Rueles-Mendoza for drug trafficking. Complaint (ECF No. 1),

 7   United States v. Chavez-Duran, No. 4:21-mj-07164-MKD, at 4 (E.D.

 8   Wash July 22, 2021) (“Complaint”). Based on that investigation,

 9   DEA TFO Michael Pitts applied for and obtained a search warrant

10   on July 14, 2021 for a black Ford Edge (WA/BUG3081). Id. at 5.

11   That warrant stated:

12        An application by a federal law enforcement officer or an
          attorney for the government requests the search of the
13        following person or property located in the Eastern District
          of Washington []: A black 2012 Ford Edge bearing
14        Washington state license plate BUG3081, Vehicle
          Identification Number (VIN): 2FMDK4KC5CBA71221
15        registered to Daniel ESPINOZA Chavez, 3829 West
          Kennewick Ave #1/2, Kennewick, WA (Target Vehicle 2)
16        further described in Attachment A attached hereto and
          incorporated herein by this reference.
17
          I find that the affidavits or any recorded testimony
18        establish probable cause to search and seize the person or
          property described above and that such search will reveal
19        identify the person or describe the property to be seized
          See Attachment B attached hereto and incorporated
20        herein by this reference.


     Motion to Suppress - 2
      Case 4:21-cr-06028-MKD   ECF No. 51   filed 08/20/21   PageID.155 Page 3 of 13




 1   Bates 00000010.05. Attached thereto was a document entitled

 2   “Target Vehicle 2.” Presumably, this was the Attachment A referred

 3   to in the warrant. That document stated:

 4        Described as a black 2012 Ford Edge bearing Washington
          state license plate BUG3081, Vehicle Identification
 5        Number (VIN): 2FMDK4KC5CBA71221. This vehicle was
          utilized by an unknown subject who met with Jose
 6        MENDOZA-Ruelas, a target of this investigation The
          search is to include the entire vehicle. This vehicle is
 7        registered to Daniel ESPINOZA Chavez. 3829 West
          Kennewick Avenue, #1/2, Kennewick, WA and is
 8        commonly parked at the address 3829 West Kennewick
          Avenue, in the City of Kennewick, postal zip code 99336 in
 9        the County of Benton, in the State of Washington.

10   Bates 00000010.07.

11     About 11:00 AM on July 21, 2021, TFO Pitts began surveilling the

12   residence of co-defendant Oscar Chavez-Garcia and saw the Ford

13   Edge. Complaint, at 5. Surveillance continued until about 2:50 PM

14   when an Affordable Landscaping truck parked at the residence. Id.

15   at 5-6. The truck and the Ford Edge then left the residence together.

16   Id. at 6. The Ford Edge stopped at a gas station where Detective

17   Magana observed Defendant Chavez-Duran exit and reenter the

18   Ford Edge. Id. at 7.

19     The Ford Edge joined the Affordable Landscaping truck at a

20   construction site and the vehicles’ occupants were observed


     Motion to Suppress - 3
      Case 4:21-cr-06028-MKD   ECF No. 51   filed 08/20/21   PageID.156 Page 4 of 13




 1   removing concrete from the driveway area. Id. The truck was seen

 2   leaving the construction site at about 4:20 PM. Id. It was later

 3   observed at the gas station at 5:00 PM. Id. Defendant Chavez-Duran

 4   exited the truck, entered the gas station, reentered the truck, and

 5   returned to the construction site. Id. at 7-8. At about 5:25 PM,

 6   Defendant    Chavez-Duran       drove     the    Ford     Edge    away    from

 7   construction site. Id. at 8.

 8     Pasco Police Officer Erickson and Kennewick Police Officer

 9   Safranek stopped the Ford Edge at about 5:30 PM. Id. The officers

10   asked Defendant Chavez-Duran for his driver license, which he

11   provided to them. Id. They asked him for his phone number which

12   he provided to them. Id. They asked him for the phone number of

13   the phone in the vehicle, which he didn’t know. Id. He gave them the

14   phone so they could find the number in the phone’s settings. Id.

15     TFO Pitts approached the vehicle and informed Ddefendant

16   Chavez-Duran that they had a warrant to seize the vehicle and

17   search it. Id. at 9. TFO Pitts advised Defendant Chavez-Duran that

18   he was not under arrest and asked if he would like to speak to TFO

19   Pitts. Id. TFO Pitts noted “Based on [Defendant Chavez-Duran’s]

20   demeanor and manner of speaking, I observed [he] was nervous and


     Motion to Suppress - 4
      Case 4:21-cr-06028-MKD   ECF No. 51   filed 08/20/21   PageID.157 Page 5 of 13




 1   appeared to want to distance himself from the situation and/or

 2   vehicle.” Id.

 3     Defendant Chavez-Duran will testify that he told the officers he

 4   wanted to walk back to the construction site, but he officers refused

 5   to allow him to leave on his own. They “offered” him a “courtesy” ride

 6   back to the construction site. Id. at 9-10. Having no other

 7   alternative, he agreed to ride back to the construction site with the

 8   officers. Id. at 10. Defendant Chavez-Duran exited the Ford Edge.

 9   Id. at 10. Officer Safranek began patting defendant Chavez-Duran

10   down while TFO Pitts told Chavez-Duran they needed to check him

11   for weapons prior to transport. See id. TFO Pitts and Officer

12   Safranek lacked reasonable suspicion that Chavez-Duran was

13   armed with any weapons or dangerous.

14     Officer Safranek felt pills in defendant Chavez-Duran’s pocket. Id.

15   As Officer Safranek began telling TFO Pitts he suspected there were

16   pills in Defendant Chavez-Duran’s pocket, Defendant Chavez-Duran

17   volunteered there were over 2,000 pills in his pocket. Id. Defendant

18   Chavez-Duran was arrested and searched incident to arrest. Id. The

19   officers found pills in his pocket. Id.

20


     Motion to Suppress - 5
      Case 4:21-cr-06028-MKD   ECF No. 51    filed 08/20/21   PageID.158 Page 6 of 13




 1                                 C.       Analysis

 2     The Fourth Amendment to the Constitution of the United States

 3   provides:

 4          The right of the people to be secure in their persons,
            houses, papers, and effects, against unreasonable
 5          searches and seizures, shall not be violated, and no
            Warrants shall issue, but upon probable cause, supported
 6          by Oath or affirmation, and particularly describing the
            place to be searched, and the persons or things to be
 7          seized.

 8   Nevertheless, a valid search warrant does not also give police

 9   permission to search everyone present at the site of the search.

10   Yvarra, 444 U.S. at 91-92. Because the scope of the search warrant

11   for the Ford Edge did not include a search of Defendant Chavez-

12   Duran’s person, Officer Safranek’s frisk was warrantless. Because it

13   was warrantless, it was presumptively unreasonable. Arizona v.

14   Gant, 556 U.S. 332, 338 (2009) (“searches conducted outside the

15   judicial process, without prior approval by judge or magistrate, are

16   per se unreasonable under the Fourth Amendment”). Exceptions to

17   warrant requirement are “jealously and carefully drawn,” Jones v.

18   United States, 357 U.S. 493, 499, 78 S.Ct. 1253 (1958); they are

19   “specifically established and well-delineated[,]” Gant, 556 U.S. at

20   338.


     Motion to Suppress - 6
      Case 4:21-cr-06028-MKD   ECF No. 51   filed 08/20/21   PageID.159 Page 7 of 13




 1     No exceptions to the warrant requirement apply to the Officer

 2   Safranek’s frisk of defendant Chavez-Duran.

 3     First, “[a]mong the exceptions to the warrant requirement is a

 4   search incident to lawful arrest.” Gant, 556 U.S. at 338. Here,

 5   however, TFO Pitt explicitly told defendant Chavez-Duran he was

 6   not under arrest, Officer Safranek’s then frisked defendant Chavez-

 7   Duran, and TFO Pitt then arrested defendant Chavez-Duran. A

 8   search occurring before an arrest is not incident to that arrest. The

 9   search incident to arrest exception does not apply.

10     Second, when an officer “approach[es] a person for purposes of

11   investigating possibly criminal behavior[,]” the officer may make “a

12   reasonable search for weapons for the protection of the police officer,

13   where he [or she] has reason to believe that he [or she] is dealing

14   with an armed and dangerous individual[.]” Terry v. Ohio, 391 U.S.

15   1, 22, 27, 88 S.Ct. 1868 (1968). Factors that might suggest a person

16   is armed include: a visible bulge in the person’s clothing, suggesting

17   the presence of a weapon; sudden movements; and repeated

18   attempts to reach for an object that is not visible. United States v.

19   Flatter, 456 F.3d 1154, 1157-58 (9th Cir. 2006). “A lawful frisk does

20   not always flow from a justified stop. Each element, the stop and the


     Motion to Suppress - 7
      Case 4:21-cr-06028-MKD   ECF No. 51    filed 08/20/21   PageID.160 Page 8 of 13




 1   frisk, must be analyzed separately; the reasonableness of each must

 2   be independently determined. The standard for justifying a frisk is

 3   whether a reasonably prudent person in the circumstances would

 4   be warranted in the belief that his or her safety or that of others was

 5   in danger.” United States v. Thomas, 863 F.2d 622, 628 (9th Cir.

 6   1988). Here, the officers delayed asking Defendant Chavez-Duran to

 7   exit the vehicle after stopping the vehicle. This delay suggests the

 8   officers were not particularly concerned for their own safety at that

 9   time. A finding that they suddenly were concerned for their safety

10   minutes later is incongruent with their behavior immediately

11   following the stop. Furthermore, all the officers knew about this

12   vehicle’s connection to drug trafficking was that an unidentified

13   subject drove the Ford Edge at 4:55 PM on June 8, 2021 to 1010

14   Smith Ave, Richland, WA and appeared to hand a white plastic tube

15   to co-defendant Mendoza. Bates 00000004.33-00000004.38. Co-

16   defendant Mendoza then participated in a controlled buy of the

17   white   plastic    tube     that       was    later      found    to   contain

18   methamphetamine. Id. The registered owner of the vehicle was

19   Daniel Espinoza-Chavez. Bates 00000004.36. The confidential

20   source used in the controlled buy told officers that co-defendant


     Motion to Suppress - 8
      Case 4:21-cr-06028-MKD   ECF No. 51   filed 08/20/21   PageID.161 Page 9 of 13




 1   Mendoza’s source of supply was the person who operates the

 2   landscaping company. Bates 00000004.38-00000004.39. Officers

 3   knew this person to be co-defendant Daniel Espinoza-Chavez. Bates

 4   00000004.69.

 5     When the vehicle was stopped on June 21, 2021 and the officers

 6   identified the driver to not be co-defendant Daniel Espinoza-Chavez,

 7   any inference that the driver was connected to drug trafficking was

 8   speculative. Thus, the officers could not reasonably infer Defendant

 9   Chavez-Duran was dangerous because of some connection to drug

10   trafficking. This exception to the warrant requirement does not

11   apply.

12     Third, a warrant is not required if a person voluntarily consents

13   to the search. Fernandez v. California, 571 U.S. 292, 298, 134 S.Ct.

14   1126 (2014); Georgia v. Randolph, 547 U.S. 103, 106, 126 S.Ct.

15   1515 (2006). The Government bears the burden of proving voluntary

16   consent. United States v. Mendenhall, 446 U.S. 544, 557, 100 S.Ct.

17   1870 (1980). It cannot fairly be said that one consents to a search

18   voluntarily when the person has no way of avoiding the search. Such

19   was the situation facing Defendant Chavez-Duran. He told officers

20   he would walk back to the construction site, but they would not let


     Motion to Suppress - 9
     Case 4:21-cr-06028-MKD   ECF No. 51   filed 08/20/21   PageID.162 Page 10 of 13




 1   him. Instead, they require him to accept a “courtesy” ride to the

 2   construction site. According to TFO Pitts’ account, in a bait-and-

 3   switch move that would make a car salesman green with envy, the

 4   officers then told Defendant Chavez-Duran they needed to search

 5   him for weapons before this “courtesy” ride. TFO Pitts states that

 6   Defendant Chavez-Duran agreed to the search. Having no

 7   alternative, defendant Chavez-Duran’s consent cannot be said to

 8   have done so voluntarily.

 9     On the other hand, defendant Chavez-Duran’s account of the

10   events differs from TFO Pitts. He will testify that Officer Safranek

11   was already frisking him when TFO Pitts began advising Defendant

12   Chavez-Duran that they would need to search him before the

13   “courtesy” ride. Defendant Chavez-Duran will testify that they did

14   not ask for his permission to pat him down and he did not agree to

15   the pat down.

16     “The exclusionary rule prohibits introduction into evidence of

17   tangible materials seized during an unlawful search…” Murray v.

18   United States, 487 U.S. 533, 536, 108 S.Ct. 2529 (1988) (citing

19   Weeks v. United States, 232 U.S. 383 (1914)). Likewise, “inculpatory

20   statements made after [controlled substances are] found” are


     Motion to Suppress - 10
     Case 4:21-cr-06028-MKD   ECF No. 51   filed 08/20/21   PageID.163 Page 11 of 13




 1   inadmissible if “[t]hose statement resulted directly from the unlawful

 2   search[.]” Ruiz v. Craven, 425 F.2d 235, 236 (9th Cir. 1970).

 3   “[E]vidence obtained in violation of the Fourth Amendment by

 4   officers acting in objectively reasonable reliance on a search warrant

 5   … need not be excluded.” United States v. Leon, 468 U.S. 897, 927,

 6   104 S. Ct. 3405 (1984) (Blackmun, J., concurring). However, it

 7   cannot be said that

 8

 9     Here, defendant Chavez-Duran’s statement about the pills in his

10   pocket was made after Officer Safranek’s unlawful search and was

11   a direct result of that search. The pills themselves were also the

12   direct result of Officer Safranek’s unlawful search. Accordingly, the

13   statement and the pills must both be excluded at trial.

14                               D.    Conclusion

15     The search warrant for the Ford Edge did not authorize the search

16   of defendant Chavez-Duran’s person rendering the search per se

17   unreasonable. No exception to the warrant requirement applies:

18   defendant Chavez-Duran was not arrest until after the search, a

19   reasonably prudent person would not have believed he was armed

20


     Motion to Suppress - 11
     Case 4:21-cr-06028-MKD   ECF No. 51   filed 08/20/21   PageID.164 Page 12 of 13




 1   and dangerous, he did not consent to the search. Defendant Chavez-

 2   Duran’s statement and the pills must be excluded from trial.

 3

 4   Dated: August 20, 2021                Respectfully Submitted,

 5                                         s/Adam R. Pechtel
                                           Adam R. Pechtel/ WSBA #43743
 6                                         Attorney for Defendant
                                           Pechtel Law PLLC
 7                                         21 N Cascade St
                                           Kennewick, WA 99336
 8                                         Telephone: (509) 586-3091
                                           Email: adam@pechtellaw.com
 9

10

11

12

13

14

15

16

17

18

19

20


     Motion to Suppress - 12
     Case 4:21-cr-06028-MKD   ECF No. 51   filed 08/20/21   PageID.165 Page 13 of 13




 1                            SERVICE CERTIFICATE

 2   I certify that August 20, 2021, I electronically filed the foregoing with

 3   the District Court Clerk using the CM/ECF System, which will send

 4   notification of such filing to the following:

 5

 6   Stephanie Van Marter, Attorney for Plaintiff United States

 7

 8                                         s/Adam R. Pechtel
                                           Adam R. Pechtel/ WSBA #43743
 9                                         Attorney for Defendant
                                           Pechtel Law PLLC
10                                         21 N Cascade St
                                           Kennewick, WA 99336
11                                         Telephone: (509) 586-3091
                                           Email: adam@pechtellaw.com
12

13

14

15

16

17

18

19

20


     Motion to Suppress - 13
